 Case 1:20-cv-00091-MJT Document 11 Filed 07/07/22 Page 1 of 2 PageID #: 34




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

 UNITED STATES and STATE OF                   §
 TEXAS, ex rel. FRANK ADOMITIS,               §
                                              §        CIVIL ACTION No. 1:20CV91
                       Plaintiffs,            §
                                              §
 v.                                           §
                                              §
 LIBERTY COUNTY HOSPITAL                      §        JUDGE MICHAEL J. TRUNCALE
 DISTRICT NO. 1, d/b/a LIBERTY-               §
 DAYTON REGIONAL MEDIAL                       §
 CENTER,                                      §
                                              §
                       Defendant.             §


         UNITED STATES OF AMERICA’S RESPONSE TO JUNE 16, 2022,
                         SHOW CAUSE ORDER

       The Government provides this response to the Court’s June 16, 2022 Order to Show

Cause [Dkt 10].

       The United States understood that the Relator intends to voluntarily dismiss this case.

The Government has indicated that it has no objection to Relator’s voluntary dismissal and

requests that the Court dismiss the remainder of the case and unseal the complaint as

provided in the Court’s prior order. The dismissal does not affect the rights of the United

States to later pursue any claims against Defendant.

                                           Respectfully submitted,

                                           BRIT FEATHERSTON
                                           ACTING UNITED STATES ATTORNEY

                                           /s/ Michael W. Lockhart______
                                           MICHAEL W. LOCKHART
                                           Assistant United States Attorney
                                           Texas Bar No. 12472200


                                                                                         Page 1
 Case 1:20-cv-00091-MJT Document 11 Filed 07/07/22 Page 2 of 2 PageID #: 35




                                           550 Fannin St., Suite 1250
                                           Beaumont, Texas 77701-2237
                                           Tel: (409) 839-2538
                                           Fax.: (409) 839–2643
                                           Email: USATXE.CivECFBmt@usdoj.gov

                                           ATTORNEYS FOR THE UNITED STATES
                                           OF AMERICA


                               CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2022 a true and correct copy of the foregoing

document was filed electronically with the court and has been sent to counsel of record via

the court’s electronic filing system.


                                           /s/ Michael W. Lockhart______
                                           MICHAEL W. LOCKHART
                                           Assistant United States Attorney




                                                                                        Page 2
